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                                                             13                             UNITED STATES DISTRICT COURT
                                                             14                       NORTHERN DISTRICT OF CALIFORNIA
                                                             15

                                                             16   ROBERT F. KENNEDY, JR.,                     Case No. 5:23-cv-03880-NC
                                                             17                Plaintiff,                     [Assigned to the Hon. Nathanael
                                                                                                              Cousins]
                                                             18          vs.
                                                             19   GOOGLE LLC, a Delaware                      [PROPOSED] TEMPORARY
                                                                  corporation, and YOUTUBE, LLC, a            RESTRAINING ORDER AND
                                                             20   Delaware corporation,                       ORDER TO SHOW CAUSE RE
                                                                                                              ISSUANCE OF PRELIMINARY
                                                             21                Defendants.                    INJUNCTION
                                                             22

                                                             23   ///
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                                                             25   ///
                                                             26   ///
                                                             27   ///
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                                                                    TRO AND OSC RE ISSUANCE OF PRELIMINARY INJUNCTION             CASE NO. 5:23-cv-03880-NC
                                                                       Case 3:23-cv-03880-TLT Document 7-4 Filed 08/09/23 Page 2 of 2




                                                             1                                            ORDER
                                                             2          Having considered the application for a temporary restraining order filed by
                                                             3    Plaintiff Robert F. Kennedy, Jr., and all related documents and argument, and good
                                                             4    cause appearing, the Court orders as follows:
                                                             5          1.     The application is granted.
                                                             6          2.     Defendants Google LLC and YouTube, LLC, and all their agents and
                                                             7    employees are temporarily enjoined from using either the “Vaccine misinformation
                                                             8    policy” or the “COVID-19 medical misinformation policy” to remove videos of Mr.
                                                             9    Kennedy’s speech from YouTube.
                                                             10         3.     The Court also orders Defendants to show cause why a preliminary
                                                             11   injunction should not be issued enjoining them and their agents and employees from
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                                                                  using either the “Vaccine misinformation policy” or the “COVID-19 medical
                             600 WEST BROADWAY, SUITE 1400




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                              SAN DIEGO, CALIFORNIA 92101




                                                             13   misinformation policy” to remove videos of Mr. Kennedy’s speech from YouTube
                                                             14   while he is a candidate for president of the United States and pending a trial on the
                                                             15   merits in this action.
                                                             16         4.     Mr. Kennedy shall serve a copy of this Order plus all supporting
                                                             17   pleadings and papers on Defendants by _________________________, 2023.
                                                             18         5.     The hearing on the OSC re issuance of a preliminary injunction shall be
                                                             19   scheduled for ________________, 2023, at _______________. It will be held at
                                                             20   _____________________________. Defendants shall file their opposition papers by
                                                             21   ________________, 2023. Mr. Kennedy shall file his reply papers by
                                                             22   _______________, 2023.
                                                             23         IT IS SO ORDERED.
                                                             24

                                                             25   Dated: ____________________                    ____________________________
                                                             26                                                  U.S. MAGISTRATE JUDGE
                                                             27

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                                                                   TRO AND OSC RE ISSUANCE OF PRELIMINARY INJUNCTION                CASE NO. 5:23-cv-03880-NC
